          Case 1:17-cv-00427-JKB Document 35 Filed 09/12/17 Page 1 of 3



                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                BALTIMORE DIVISION

________________________________________
                                         )
DAVID G. FEINBERG et al., and all others )
similarly situated,                      )
                                         )
                  Plaintiffs,            )
                                         )                    Civil Action No. 1:17-cv-00427-MJG
vs.                                      )
                                         )
T. ROWE PRICE GROUP, INC. et al.,        )
                                         )
                  Defendants.            )
________________________________________ )


   DEFENDANTS T. ROWE PRICE GROUP, INC. ET AL.’S MOTION TO DISMISS
               PLAINTIFFS’ FIRST AMENDED COMPLAINT

        Defendants T. Rowe Price Group, Inc., T. Rowe Price Associates, Inc., T. Rowe Price

Trust Company, T. Rowe Price Group, Inc. Management Committee, T. Rowe Price Group, Inc.

Management Compensation Committee, Christopher D. Alderson, Edward C. Bernard, Michael

C. Gitlin, James A.C. Kennedy, John D. Linehan, Brian C. Rogers, William J. Stromberg, Eric L.

Veiel, and Edward A. Wiese hereby move to dismiss Plaintiffs’ First Amended Complaint

pursuant to Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6).

        As explained more fully in the accompanying memorandum of law, Plaintiffs’ First

Amended Complaint should be dismissed in its entirety. Plaintiffs do not have constitutional

standing to bring claims challenging funds in which they did not personally invest, and all claims

Plaintiffs lacks Article III standing to raise, including (but not limited to) all claims relating to

funds in which Plaintiffs did not invest, should be dismissed pursuant to Rule 12(b)(1).

Plaintiffs’ remaining claims should be dismissed pursuant to Rule 12(b)(6), because the First
            Case 1:17-cv-00427-JKB Document 35 Filed 09/12/17 Page 2 of 3



Amended Complaint fails to state a claim as to any of the funds in which Plaintiffs actually

invested.

Dated: September 12, 2017                    Respectfully submitted,

                                             /s/ Shannon M. Barrett
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                                             Gregory F. Jacob (D. Md. Bar No. 06769)
                                             Shannon M. Barrett (D. Md. Bar No. 16410)
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                                             Attorneys for Defendants




                                                2
          Case 1:17-cv-00427-JKB Document 35 Filed 09/12/17 Page 3 of 3



                                CERTIFICATE OF SERVICE

       I, Shannon M. Barrett, hereby certify that on September 12, 2017, I caused a copy of the

foregoing document to be served upon all counsel of record via the CM/ECF system for the

United States District Court for the District of Maryland.




                                                     /s/ Shannon M. Barrett
                                                     Shannon M. Barrett
